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                                                                                              December 5, 2023
VIA CM/ECF
Catherine O’ Hagan Wolfe
Clerk of the Court
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re:      Carroll v. Trump, Nos. 23-1045, 23-1146

Dear Ms. Wolfe:

       This letter is submitted in response to Plaintiff-Appellee’s December 4 letter. Defendant-
Appellant agrees that the decision in Blassingame v. Trump, No. 22-5069 (D.C. Cir.) (the
“Opinion”) is relevant in several respects.

        First, the Opinion implicitly treats presidential immunity as jurisdictional. For context, in
Blassingame, President Trump moved for dismissal under F.R.C.P. 12(b)(1) on the basis that
“[presidential] immunity forecloses the jurisdiction of this Court.” 1 The district court, in turn,
analyzed presidential immunity under the banner of subject-matter jurisdiction and noted that it
“implicates fundamental norms of separation-of-powers[.]” 2 The Opinion does not dispute or
otherwise disturb this construction of presidential immunity. Rather, it adopts it by citing the
proscription against “constrain[ing] presidential action” 3 and noting that these “same
considerations counsel in favor of construing the President’s action to involve official function so
long as [they] can reasonably be understood as such.” Opinion at 37.

        Second, the D.C. Circuit establishes an “objective, context-specific” test for determining
whether presidential speech “can reasonably be understood” to constitute official action. Id.
According to the D.C. Circuit, “the key is whether the President is speaking…in an official
capacity as office-holder[.]” Id. at 33. This inquiry “turn[s] on the function being performed and
not…the words being used.” Id. at 38; see also id. (“[T]he crux of the inquiry…concerns the
context in which the President speaks, not what precisely he says[.]”). “The same essential message
or act may be either official or unofficial depending on the circumstances in which it is delivered
or performed”; if it is “clothed in the trappings of an official function based on objective indicia,
it more likely constitutes an official act for immunity purposes.” Id. at 36. Importantly, the D.C.
Circuit concluded that when this test “yields no sufficiently clear answer in either direction, the
President…should be afforded immunity.” Id. at 37.



1
  See Memorandum in Support of Donald J. Trump’s Motion to Dismiss, Thompson v. Trump, 2021 WL 2221104 at
*13 (D.D.C. May 26, 2021).
2
  Thompson v. Trump, 590 F.Supp.3d 46, 74 (D.D.C. 2002).
3
  Specifically, the Opinion cites to Franklin v. Massachusetts, 505 U.S. 788, 800-01 (1992) and Pub. Citizen v. U.S.
Dep’t of Just., 491 U.S. 440, 465-67 (1989). See Opinion at 37.



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        Third, the Opinion reaffirms that presidential immunity “insulates all of [the President’s]
official actions from civil damages liability, regardless of their legality or his motives.” Id. at 23
(emphasis added). The D.C. Circuit emphasizes that this limiting principle allows Presidents to
perform their duties effectively and without hesitation. Id. at 47-51.

                                              Respectfully submitted,




                                               Michael T. Madaio, Esq.
                                               For HABBA MADAIO & ASSOCIATES LLP
